AO 472 (Rev . 09/08) Detention Order Pending Trial

                                                                                                                      ON      -/O-;)a ·
                                        UNITED STATES DISTRICT COURT                                                       Peter A. Moore •· ,..__
                                                                                                                           US District Court'""' " - I i
                                                                       for the                                             Eanam District of NC
                                                       Eastern District of North Carolina

                        United States of America                           )
                                   V.                                      )
                                                                           )       Case No.      7:20-cr-103-1 M
                        QUADARRIUS COTTEN                                  )
                                Defendant                                  )

                                                  DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3 l 42(f), I conclude that these facts
require that the defendant be detained pending trial.
                                               Part I-Findings of Fact
•   (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(l) and has previously been convicted
          of        •    a federal offense    •      a state or local offense that would have been a federal offense if federal
               jurisdiction had existed - that is
                •       a crime of violence as defined in 18 U.S.C. § 3156(a)(4)or an offense listed in 18 U.S.C. § 2332b(g)(5)
                        for which the prison term is IO years or more.

                •       an offense for which the maximum sentence is death or life imprisonment.
                •       an offense for which a maximum prison term of ten years or more is prescribed in
                                                                                                                                   *
                •       a felony committed after the defendant had been convicted of two or more prior federal offenses
                        described in 18 U.S.C. § 3142(f)(I )(A)-(C), or comparable state or local offenses:

                •       any felony that is not a crime of violence but involves :
                        •   a minor victim
                        •   the possession or use of a firearm or destructive device or any other dangerous weapon
                        •   a failure to register under 18 U.S.C. § 2250
•   (2)        The offense described in finding (1) was committed while the defendant was on release pending trial for a
               federal, state release or local offense.

•   (3)        A period of less than five years has elapsed since the              •   date of conviction         •   the defendant's release
               from prison for the offense described in finding (1 ).
•   (4)        Findings Nos. (I), (2) and (3) estab lish a rebuttable presumption that no condition will reasonably assure the safety
               of another person or the community. I further find that the defendant has not rebutted this presumption.

                                                             Alternative Findings (A)
               The'.:_;j-probable cause to believe that the defendant has committed an offense
                ITTor which a maximum prison term often years or more is prescribed in                      2/ U S ( ! ~
                •       under 18 U.S.C. § 924(c).


          *In sert as applicable: (a) Controlled Substances Act (2 1 U.S.C. § 801 et seq.); (b) Con trolled Substances Import and Export Act
          (2 1 U.S.C. § 951 et seq.); or (c) Section I of Act of Sept. 15, 1980 (21 U.S.C . § 955a).                                             Page I of 2

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                                                UNITED STATES DISTRICT COURT
                                                                                fo r the
                                                            Eastern District of North Carolina


•   (2)           The defend ant has not rebutted the presumption established by finding I that no cond ition will reasonably assure
                  the defendant ' s appearance and the safety of the communi ty .

        ./                                                         Alternative Findings (B)
llJ.-'(I)       ~ There is a serious ri sk that the defend ant will not appear.
✓i'                There is a serious risk that the defend ant will endanger the safety of another person or the communi ty.




                                            Part II- Statement of the Reasons for Detention
                I find that the testimony and info rmation submitted at the detention hearing establishes by
                      •    clear and convincing ev idence that                • a preponderance of the evidence that
    D     Based on the defendant's waiver of his/her right to a detention hearing, there is no condition , or combination of conditions, that can
          be imposed which would reasonably assure the defendant's appearance and/or the safety of another person or the community.
 ~ reasons indicated below, there is no cond ition , or combination of conditions , that can be imposed which would reasonably
  assure th efendant's appearance and/or safety of another person or the community.
            ~~          ature of the charges                                            D The lack of stable employment
            L: rThe apparent strength of the government's case                          •     The lack of a suitable custodian
            D The indication of substance abuse                                         D The fact that the charges arose while on state probation
            ~             fendant's crim inal history                                   ~             ory of probation revocations
            ~ her:          /.)/1<!/J'.f. .... ~       J-      ,//, ..~.,t   ...5<t..    fl      /I_,_,     /..q       v- /.'   L         --         f?,_,..c!.
                            t/<~('t,,,f,.;;.1      ~    -f1'J-',,,o .....     t,,,c.l- ✓•->,-      ,/lf..,!K,,,.,,.,, ,,,.. 1-t..      JZ.~~-fr.,,,        ~
                                                        Part III- Directions Regarding Detention                                    c/....v ' c:-.
         The defendant is committed to the custody of the Attorney General or a des ignated representative for confinement
in a corrections facil ity separate, to the extent practicable, from persons awaiti ng or serv ing sentences or held in custody
pending appeal. The defendant must be afford ed a reasonable opportuni ty to consult privately with defe nse counse l. On
order of United States Court or on request ofan attorney fo r the Governm ent, the person in charge of the corrections fac ility
must deli ver the defendant to the United States marshal fo r a court appearance.




                                                                                                 ROBERT B. JONES, JR. , USMJ
                                                                                                             Name and Title




            *Inse rt as appli cabl e: (a) Contro lled Substances Act (2 1 U .S.C. § 801 et seq.); (b) Contro ll ed S ubstances Import and Ex port Act
            (2 1 U.S.C. § 95 1 et seq.); or (c) Section I of Act o f Se pt. 15, 1980 (2 1 U.S.C. § 955 a).                                                        Page 2 of 2

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